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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                 CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

         Defendants.
                                        /

        ORDER SETTING SECOND SET OF PRE-TRIAL DEADLINES/HEARINGS

         Following the Court’s prior Order setting the first batch of substantive pre-trial deadlines,

  the Court hereby establishes the second set of pre-trial deadlines to manage pending discovery and

  disclosure matters, adjudicate pre-trial motions before the Court, and advance through additional

  stages of the Classified Information Procedures Act (CIPA) as implicated in this

  complex-designated case:


                      Sealed Hearing on Grand Jury Matters                     May 8, 2024
                                  (Telephonic)                                  (2 p.m.)


                   Resolution of Pending Seal Requests
                            [ECF Nos. 348, 384]                                May 20, 2024
               (Subject to Any Necessary Rule 6(e) Hearings)


             Non-Evidentiary Hearing on Defendant Nauta’s
              Motion to Dismiss for Selective and Vindictive                   May 22, 2024
                       Prosecution [ECF No. 485]                                (10 a.m.)
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              Non-Evidentiary Hearing on Defendants’ Motion to
                                                                             May 22, 2024
                 Dismiss Indictment for Insufficient Pleading
                                                                              (1:30 p.m.)
                               [ECF No. 352]


                            Discovery Status Reports
                                                                             May 31, 2024
                    (Special Counsel; Consolidated Defense)1


                    Defendants’ Rule 16 Expert Disclosures                   June 10, 2024


                     CIPA § 5 Notice as to All Defendants2                   June 17, 2024


                 Non-Evidentiary Hearing on Motion to Dismiss
                                                                             June 21, 2024
                Indictment Based on Unlawful Appointment and
                                                                              (9:30 a.m.)
                  Funding of Special Counsel [ECF No. 326]3


                 Partial Evidentiary Hearing on Defendants’
                                                                           June 24–26, 2024
               Consolidated Motions to Compel Discovery and to
                                                                               (10 a.m.)
               Define Scope of Prosecution Team [ECF No. 469]4


      Special Counsel’s Supplemental Expert Disclosures (if any)             July 9, 2024

                          Special Counsel’s CIPA § 6(a)
                                                                             July 10, 2024
                          Defense Reciprocal Discovery




  1
    These reports, other than updating the Court on the status of discovery, should include any
  progress on contested issues set forth in Defendants’ Motions to Compel or other outstanding
  discovery disputes.
  2
    Although notice under CIPA § 5 ordinarily should not be due until resolution of all outstanding
  discovery issues and CIPA § 4 proceedings, the Court sets this deadline to reasonably
  accommodate the Special Counsel’s interest in proceeding to Section 6(a) for at least the bulk of
  discovery marked classified and produced to date. Nevertheless, to the extent an additional CIPA
  § 5 notice becomes necessary to account for subsequent developments not encompassed within the
  timeframes set forth in this Order, the Court will consider that request upon a showing of need.
  3
   Any amici wishing to present oral argument during this hearing must seek leave of Court to do
  so no later than June 3, 2024.
  4
      Pre-hearing order to follow.
                                                  2
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            Defendants’ Combined Speedy Trial Report5                            July 19, 2024

                                                                                 July 22, 2024
                           Status Conference
                                                                                   (10 a.m.)

                   Supplemental CIPA § 4 Hearing                                 July 22, 2024
                         (Sealed/Ex Parte)                                          (3 p.m.)


          The Court also determines that finalization of a trial date at this juncture—before resolution

  of the myriad and interconnected pre-trial and CIPA issues remaining and forthcoming—would

  be imprudent and inconsistent with the Court’s duty to fully and fairly consider the various pending

  pre-trial motions before the Court, critical CIPA issues, and additional pretrial and trial

  preparations necessary to present this case to a jury.6 The Court therefore vacates the current May

  20, 2024, trial date (and associated calendar call), to be reset by separate order following resolution

  of the matters before the Court, consistent with Defendants’ right to due process and the public’s

  interest in the fair and efficient administration of justice.

          In reaching this decision, the Court has fully evaluated the parties’ positions as expressed

  during the March 1, 2024, conference and in related and subsequent filings [ECF Nos. 356–357,

  369, 433, 452–453, 458, 507, 527]. The Court also reviewed the procedural posture of this case

  in light of the currently pending motions, which now consist of eight substantive pretrial motions

  (two of which have not been publicly docketed because of requests for sealing and redactions

  [ECF Nos. 324, 326, 348, 352, 384, 485, 508, 516]); extensive defense motions to compel

  discovery on a host of issues spanning hundreds of pages of classified and unclassified briefing


  5
    The report shall include Defendants’ respective positions on all excludable time from the speedy
  trial period and expressly indicate their specific position on subsequent waivers/assertions of
  speedy trial rights.
  6
   See generally U.S. District Judge T.S. Ellis, III, THE NATIONAL SECURITY TRIALS: A JUDGE’S
  PERSPECTIVE, 99 Va. L. Rev. 1607 (2013).
                                                  3
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  and exhibits [ECF Nos. 263, 280, 300, 301, 469, 470, 475]; a contested motion to define and

  enforce the scope of the prosecution team for discovery purposes; and partially resolved CIPA § 4

  litigation requiring a supplemental hearing to be set following resolution of certain aspects of

  Defendants’ pending motions to compel [ECF No. 412].7 Finally, the Court has evaluated the

  statutory factors set forth in the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(B), including the

  public’s interest in the efficient administration of justice. Upon such review, the Court finds that

  the ends of justice served by this continuance, through the last deadline specified in this Order,

  July 22, 2024, outweigh the best interest of the public and Defendants in a speedy trial. 18 U.S.C.

  § 3161(h)(7)(A). Time under the Speedy Trial Act is therefore tolled—up to and including July

  22, 2024—to permit adequate time for hearings and adjudication of substantive pretrial motions,

  discovery disputes, and CIPA issues, many of which present novel and difficult questions. 18

  U.S.C. § 3161(h)(1)(D), (h)(7)(A)-(B) (directing judicial consideration of the needs of the

  proceeding, the complexity or unusual nature of the case, the need for adequate preparation for




  7
    The Court has since held hearings and resolved Defendant De Oliveira’s Motion to Dismiss
  Indictment, or, in the Alternative, for a Bill of Particulars [ECF No. 323]; Defendant Nauta’s
  Motion for a Bill of Particulars [ECF No. 446]; Defendant Nauta’s Motion to Dismiss Obstruction
  Counts (Counts 33–35, 40–41) for Unconstitutional Vagueness and for Failure to State a Claim
  [ECF No. 448]; Defendant Trump’s Motion to Dismiss Indictment Based on Presidential Records
  Act [ECF No. 327] as joined by Defendants Nauta and De Oliveira [ECF Nos. 331, 403]; and
  Defendant Trump’s Motion to Dismiss Counts 1–32 Based on Unconstitutional Vagueness
  [ECF No. 325; See ECF Nos. 404, 455]. The Court also held multiple days of CIPA § 4 hearings
  and issued orders resolving Defendants’ Motions for Access to CIPA § 4 filings, granting the
  Special Counsel’s CIPA § 4 Motions as to Defendants Nauta and De Oliveira, and granting in part
  the Special Counsel’s CIPA § 4 Motion as to Defendant Trump [ECF Nos. 307–310, 336, 340,
  346, 409, 412]. Separately, and continuing, the Court has ruled upon a plethora of redaction and
  sealing requests requiring careful review of lengthy in camera submissions; resolved a substantive
  Motion for Reconsideration filed by the Special Counsel; and addressed related filings by the Press
  Coalition on matters of public access, among other miscellaneous motions [ECF Nos. 261, 267,
  269, 270–271, 278, 282, 283, 286, 294, 312, 333, 339, 348, 353, 355, 358, 369 (Hearing), 384,
  423, 438, 440, 464, 474, 492, 503–505].

                                                   4
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  pretrial and trial proceedings, and the need to afford adequate time for effective preparation,

  accounting for the exercise of due diligence); [see also ECF Nos. 83, 154; ECF No. 215 p. 3].8

         DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 7th day of May 2024.




                                                      _________________________________
                                                      AILEEN M. CANNON
                                                      UNITED STATES DISTRICT JUDGE


  cc:    counsel of record




  8
   Defendants have waived their rights to a speedy trial through their proposed trial timeframes of
  August 12 and September 9, 2024 [ECF No. 357; see ECF Nos. 433, 452, 507].
                                                 5
